                                                       EXHIBIT
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF ARKANSAS
                                    DELTA DIVISION

  STATE OF KANSAS,                               §
  ETAL,                                          §
                                                 §
          Plaintiffs,                            §
                                                 §
  v.                                              §
                                                 §g Civil Action No. 2:24-cv-88-JM
  MERRICK GARLAND,
  ET. AL.                                        §
                                                 §
          Defendants.                            §
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                 DECLARATION OF JAMES FRY - PRESIDENT OF THE

                    CHISHOLM TRAIL ANTIQUE GUN ASSOCIATION

I, James Fry, President of the Chisholm Trail Antique Gun Association, declare as follows:

   1. lam James Fry. I am over the age of 18, and I have personal knowledge of the facts

       contained in this declaration. I could competently testify as to the contents of this

       Declaration if called upon to do so.

   2. I currently serve as the President of the Chisholm Trail Antique Gun Association

       ( Chisholm Trail ).

   3. Chisholm Trail is a Kansas not-for-profit corporation founded in 1957 in Wichita,

       Kansas.
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4. Chisholm Trail was organized for the purposes of serving the interests of collectors and

   shooters of antique and antique-replica firearms and to help preserve the craftsmanship

   and the history of the arms of our forefathers for the enlightenment and enjoyment of

   future generations

5. Chisholm Trail sponsors and manages the biannual Wichita Gun Show each year and

   relies on the proceeds generated from these events to fund its annual club activities.

   Approximately 70% of Chisholm Trail s annual operating expenses are covered by

   revenue generated by these two gun shows.

6. Chisholm Trail is not a federal firearms licensee, nor are most of its members, including

   Allen S. Black and Donal G. Maxey, who attend gun shows each year where they buy

   and/or sell firearms for and from their personal collections.

7. lam aware of and have reviewed the Final Rule which redefines what qualifies as

    Engaged in the Business as a Dealer in Firearms (“Final Rule ) that is at issue in this

   case.


8. The Final Rule will harm Chisholm Trail because it will reduce the revenue this not-for-

   profit corporation generates from its biannual gun shows. The Final Rule will do this in

   two ways: 1) by decreasing the number of attendees that sell firearms at these shows as

   those who are not federal firearms licensees will not be able to sell their firearms; and 2)

   a decrease in overall attendance at these gun shows, as fewer firearms for sale will

   decrease the options available and reduce public interest in these events.

9. In addition, the Final Rule will harm Chisholm Trail’s members, many of whom are not

   federal firearms licensees, because it would require them to become a federal firearms

    licensee and follow all the requirements required of one or stop selling firearms from their




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       personal collections at gu shows.

   10. Chis olm Trail requires all those who sell one or more firearms at their gun shows to

       collect and pay sales tax to the state of Kansas for any proceeds acquired from the sale of

       those firearms.

    11. Chisholm Trail also collects and pays sales tax to the State of Kansas for table rental fees

       charged during our gun shows. During the most recent fiscal year, Chisholm Trail paid

       $4,005.72 in sales ta to the State of Kansas.

    12. Therefore, any loss of revenue for Chisholm Trail d e to the Final Rule would naturally

       lead to a loss of state tax revenue for Kansas.

    13. Further the decla ant sayeth naught.

I decl re under penalty of perjury under the laws of the United States of America and the State of

Kansas that the foregoing is true and correct.




Executed in                                                      day of May 2024.




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